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William Douglas White DC No. 224592
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Tel: 703 770-9265
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Co-counsel for Florida, Power & Light Company

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
__________________________________________x
In re:                                    :                       Chapter 11
                                          :
WINN-DIXIE STORES, INC., et al.,          :                       In re: Case No. 05-11063
                                          :
                  Debtors.                :                       (Jointly Administered)
__________________________________________:

                 MOTION FOR ADMISSION TO PRACTICE, Pro Hac Vice

       I, WILLIAM DOUGLAS WHITE, a member of McCarthy & White PLLC and a member in

good standing of the bars of the District of Columbia and the States of Maryland and Florida, and

admitted to practice before the Supreme Court of the United States and the U.S. District Courts for

the District of Columbia and the District of Maryland, request admission, pro hac vice, before the

Honorable Robert D. Drain, to represent FLORIDA POWER & LIGHT COMPANY, in the above

referenced Chapter 11 bankruptcy case. My address is 8180 Greensboro Drive, Suite 875, McLean

Virginia 22102, my e-mail address is wdw@mccarthywhite.com and my telephone number is 703

770-9265. I agree to pay the fee of $25 upon approval by the Court admitting me to practice pro

hac vice.

Dated: March 7, 2005
       McLean, Virginia                     Respectfully submitted,

                                            /s/ William Douglas White
                                            William Douglas White DC No. 224592
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                                    CERTIFICATE OF SERVICE

         This is to certify that a true and correct copy of the above and foregoing Motion has been

served by first-class U.S. mail and by facsimile to David J. Baker, Esquire, Skadden, Arps, Slates,

Meagher & Flom, LLP, Four Times Square, New York, New York 10036 (Facsimile No. 917-777-

2150) and Richard C. Morrissey, Office of the U.S. Trustee, 33 Whitehall Street, 21st Floor, New

York, New York 10004, (Facsimile No. (212) 668-2255) this 7th day of March, 2005.



                                              /s/ William Douglas White
                                              William Douglas White DC No. 224592
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                                              Attorney for Florida Power & Light Company
